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Prob12C
(8/01)

                      UNITED STATES DISTRICT COURT
                                              for the
                            Eastern District of Oklahoma
          Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Jackie Leon Bush                  Case Number: CR-99-14-RAW

Name of Judicial Officer: The Honorable Ronald A. White

Date of Original Sentence: May 12, 2004
Date of Revocation: February 15, 2011

Original Offense: Offense Committed in Indian Country, Title 18, Section 1153, and Assaults
Within Maritime and Territorial Jurisdiction, Title 18, Section 113

Original Sentence: Found Not Guilty by Reason of Insanity
Revocation Sentence: Defendant immediately returned to the Federal Medical Center in
Springfield, Missouri.

Type of Supervision: Conditional Release Date Supervision Commenced: September 21, 2011

Asst. U.S. Attorney: Shannon Henson                        Defense Attorney: Michael A. Abel

                                  PETITIONING THE COURT
[X]       To issue a warrant

The probation officer believes that the offender has violated the following condition(s) of
supervision:

      Violation        Nature of Noncompliance
      Number

 Condition #2            The defendant shall continue to be medication compliant and take
                         prescribed medications as ordered and as may be adjusted by his
                         treating psychiatrist in the community.

                         The defendant has failed to comply with taking his prescribed medications
                         since August 20, 2022. On August 22, 2022, staff at the 3C’s Boarding
                         House advised the defendant had been making statements about killing
                         another resident and continues to be medication non-compliant.
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U.S. Probation Officer Recommendation:

[X]   The term of supervision should be
      [X]    Revoked

       Reviewed and approved,                       Respectfully submitted,

by:    s/ Robert L. Gwin                      by:   s/ Hilary Kirk

       Robert L. Gwin                               Hilary Kirk
       Supervisory U. S. Probation Officer          Sr. U.S. Probation Officer
       Date: August 23, 2022                        Date: August 23, 2022

THE COURT ORDERS

[ ]   No Action
[X]   The Issuance of a Warrant
[ ]   The Issuance of a Summons
[ ]   Other

       Dated this 23rd day of August, 2022.



                                              ____________________________________
                                              HONORABLE RONALD A. WHITE
                                              UNITED STATES DISTRICT JUDGE
                                              EASTERN DISTRICT OF OKLAHOMA
